           Case 4:07-cr-00049-JM Document 361 Filed 01/03/12 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                   4:07-CR-00049-06-JMM

REGINALD AKINS

                                             ORDER

       Pending is Defendant’s counsel’s Motion to Withdraw as Counsel (Doc. No. 360).

Counsel was appointed to determine whether Defendant was entitled to a sentence reduction

under 18 U.S.C. § 3582 based on the retroactive application of the United States Sentencing

Commission’s crack cocaine penalty guideline reduction (Amendment 750).

       Only those persons currently serving a sentence determined or affected by a sentencing

range calculated using the drug quantity table, U.S.S.G. § 2D1.1, are potentially eligible for a

reduction. On August 12, 208, Defendant was sentenced to 150 months in prison.1 However,

Defendant’s base offense level and sentence were not determined based on the drug quantity

table, but rather on his status as a “career offender” under U.S.S.G. § 4B1.1.2 Therefore, the

amended crack cocaine sentencing guidelines do not apply.

       Accordingly, the Motion to Withdraw as Counsel (Doc. No. 369) is GRANTED.

       IT IS SO ORDERED this 3rd day of January, 2012.

                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE




       1
        Doc. Nos. 266, 268. Defendant’s guideline range was 292-365 months, and he was
sentenced below that range for reasons unrelated to the drug quantity table.
       2
         See the United States Sentencing Commission’s “Reader-Friendly” Version of the Final 2011
Guideline Amendment Implementing the Fair Sentencing Act, available at
http://www.ussc.gov/Meetings_and_Rulemaking/Materials_on_Federal_Cocaine_Offenses/20110428_RF
_Amendments_Pages.pdf.

                                                 1
